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                    (;+,%,7%
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                                                                                                                                        CA Global Partners
                                                                                                                             2637 Townsgate Road, Suite 300
                                                                                                                                 Westlake Village, CA 91361
                                                                                                                                           +1 818 340 3134
                                                                                                                                             www.cagp.com
                                                                                                                                                           ɸ




Billing Information:                                       ɸ                                                                                      Invoice #ɸ454

Bidder #2003
                                                                                                                 Sale: META Material Technologies Inc (1083)
Panasonic
Ragip Pala                                                                                                                            Sale date: 03/04/2025
205 Ravendale Dr                                                                                                                   Invoice date: 03/04/2025
Mountain View, California 94043                                                                                                             Status: Pending
United States
+1 650-704-7879                                                                                                                       Balance Due:$245,684.62
ragip.pala@us.panasonic.com



Lotɸ# Item #                                           Item Name                                     Inventory Hammer       Sales      Buyer's      Subtotal
                                                                                                      Number    price        Tax      premium


1       768310 VMR 10" x 10" ALUMINUM HOT PLATE STIRRER 120V PN: 97042-762 (LOCATION:                          $75.00      9.07       $13.50     $88.50
                  SUITE 51)                                                                                                (10.25%)

2       768260 VMR 10" x 10" HOTPLATE 120V (LOCATION: SUITE 51)                                                $150.00     18.15      $27.00     $177.00
                                                                                                                           (10.25%)

4       768263 ANALYTICAL BALANCE HIGH PRECISION ELECTRONIC BALANCE MODEL:                                     $75.00      9.07       $13.50     $88.50
                  FA2204 (LOCATION: SUITE 51)                                                                              (10.25%)

5       768504 METTLER TOLEDO ANALYTICAL BALANCE MODEL: ME204TE (LOCATION: SUITE                               $300.00     36.29      $54.00     $354.00
                  51)                                                                                                      (10.25%)

7       768264 FOUR E'S SCIENTIFIC 5" LED DIGITAL MAGNETIC HOTPLATE STIRRER MODEL:                             $60.00      7.26       $10.80     $70.80
                  MI0102003V11 (LOCATION: SUITE 51)                                                                        (10.25%)

8       768298 ONILAB 5" LED DIGITAL HOTPLATE MODEL: MS-H280-PRO (LOCATION: SUITE 51)                          $60.00      7.26       $10.80     $70.80
                                                                                                                           (10.25%)

10      768270 LOT OF (2) ASSTD STIRRERS: (1) FISHERBRAND MODEL: FS RT BASIC STIRRER &                         $25.00      3.02       $4.50      $29.50
                  (1) ONILAB ECO STIR CAT NO: 8050194000 (LOCATION: SUITE 51)                                              (10.25%)

13      768299 KEITHLEY INSTRUMENTS POWER SUPPLY MODEL: 2260B-80-13 (LOCATION:                                 $275.00     33.26      $49.50     $324.50
                  SUITE 51)                                                                                                (10.25%)

14      768514 KEITHLEY INSTRUMENTS POWER SUPPLY MODEL: 2260B-80-13 (LOCATION:                                 $300.00     36.29      $54.00     $354.00
                  SUITE 51)                                                                                                (10.25%)

15      768509 KEITHLEY INSTRUMENTS POWER SUPPLY MODEL: 2260B-80-13 (LOCATION:                                 $350.00     42.34      $63.00     $413.00
                  SUITE 51)                                                                                                (10.25%)

16      768492 KEITHLEY INSTRUMENTS POWER SUPPLY MODEL: 2260B-30-36 (LOCATION:                                 $375.00     45.36      $67.50     $442.50
                  SUITE 51)                                                                                                (10.25%)

17      768515 ANALYTIKJENA UVP BLAK-RAY B-100AP LAMP PN: 95-0127-01 (LOCATION:                                $300.00     36.29      $54.00     $354.00
                  SUITE 51)                                                                                                (10.25%)

18      768305 VIVO HOME 1 STAGE VACUUM PUMP 1/3 HP MODEL: VP-135, VOLTAGE 110V-                               $100.00     12.10      $18.00     $118.00
                  60HZ WITH GAUGE SET KIT & HALOGEN LEAK DETECTOR MODEL: WJL-6000                                          (10.25%)
                  (LOCATION: SUITE 51)

23      768300 ULTILE PRECISION GLASS CUTTER MODEL: FU-300 (LOCATION: SUITE 51)                                $100.00     12.10      $18.00     $118.00
                                                                                                                           (10.25%)

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                                                                                               Number    price        Tax      premium


27   768488 H-SQUARE PORTABLE VACUUM WAND MODEL: FWTTA1 W/ ROCKER VACUUM                                $75.00      9.07       $13.50     $88.50
               PUMP MODEL: ROCKER 300C (LOCATION: SUITE 51)                                                         (10.25%)

44   768309 EXTECH 4- CHANNEL THERMOMETER/DATALOGGER MODEL: SDL200                                      $125.00     15.12      $22.50     $147.50
               (LOCATION: SUITE 51)                                                                                 (10.25%)

45   768329 EXTECH 4- CHANNEL THERMOMETER/DATALOGGER MODEL: SDL200                                      $175.00     21.17      $31.50     $206.50
               (LOCATION: SUITE 51)                                                                                 (10.25%)

51   768342 HEWLETT PACKARD ESG SERIES SIGNAL GENERATOR MODEL: E4400B                                   $325.00     39.31      $58.50     $383.50
               (LOCATION: SUITE 51)                                                                                 (10.25%)

52   768485 TANTEC EST- ELECTRICAL SURFACE TREATMENT HF SPOT TEC MODEL: D-71299                         $350.00     42.34      $63.00     $413.00
               (LOCATION: SUITE 51)                                                                                 (10.25%)

53   768528 CEE PROGRAMMABLE HOT PLATE MODEL: 1300X (LOCATION: SUITE 51)                                $3,000.00   362.85     $540.00    $3,540.00
                                                                                                                    (10.25%)

61   768580 NIKON MICROSCOPE MODEL: OPTIPHOT-300 WITH INFINITY 2 MICROSCOPY                             $900.00     108.86     $162.00    $1,062.00
               CAMERA MODEL: INFINITY2-2C, NIKON 14"x10" STAGE MODEL: 61147 & NIKON                                 (10.25%)
               CFN 10x/12 LENS MODEL: 351564 WITH MICROSCOPE SOFTWARE AND HP
               LAPTOP (LOCATION: SUITE 51)

62   768347 THOR LABS SCIENCE DESK FRAME PN: SDR90120 APPROX: 43" x 54" x 30" WITH                      $550.00     66.53      $99.00     $649.00
               THOR LABS NEXUS BREADBOARD MODEL: B3648F APPROX: 36" x 48" x 2.4"                                    (10.25%)
               (LOCATION: SUITE 51)

64   768351 THOR LABS SCIENCE DESK FRAME PN: SDR90120 APPROX: 43" x 54" x 30" WITH                      $500.00     60.48      $90.00     $590.00
               THOR LABS NEXUS BREADBOARD MODEL: B3648F APPROX: 36" x 48" x 2.4"                                    (10.25%)
               (LOCATION: SUITE 51)

65   768530 Linear Motion System with ZD 6N56-015 Stepper Motor, Linear Rail Guide                      $125.00     15.12      $22.50     $147.50
               (LOCATION: SUITE 51)                                                                                 (10.25%)

66   768526 IDS PRINTER MODEL: NANOJET WITH INDUSTRIAL THERMOLYSIS WATER                                $450.00     54.43      $81.00     $531.00
               COOLED CHILLER MODEL: CW-3000 (LOCATION: SUITE 51)                                                   (10.25%)

67   768360 LOT OF (2) CLEATECH PORTABLE ISOLATION GLOVE BOXES MODEL: C2100-2-                          $550.00     66.53      $99.00     $649.00
               D15 WITH (2) CLEATECH AUTOMATIC PURGE CONTROL SYSTEMS OXYGEN                                         (10.25%)
               ANALYZERS MODEL: A21-HM-OA (LOCATION: SUITE 51)

68   768355 PARKER BALSTON NITROGEN GENERATION SYSTEM MODEL: HFX-1 (LOCATION:                           $200.00     24.19      $36.00     $236.00
               SUITE 51)                                                                                            (10.25%)

69   768521 MEMMERT VACUUM DRYING OVEN TYPE: V049 WITH MEMMERT TYPE: PMP49                              $550.00     66.53      $99.00     $649.00
               (LOCATION: SUITE 51)                                                                                 (10.25%)

71   768540 LAURELL TECH CORP SPIN COATER MODEL: WS-650HZ-8NPPB WITH                                    $625.00     75.59      $112.50    $737.50
               TRANSMITTER MODULE AND GAST COMPRESSOR MODEL: 0523-545Q-G588NDX                                      (10.25%)
               (LOCATION: SUITE 51)

72   768517 LOT OF ASSTD LAB SUPPLIES: GLASS BEAKERS, GLASS BOTTLES, GLASS TRAYS,                       $125.00     15.12      $22.50     $147.50
               PLASTIC BOTTLES, PLASTIC TUBES, SINGLE CHANNEL PIPETTORS & SYRINGES                                  (10.25%)
               (LOCATION: SUITE 51)

73   768356 LOT OF (2) TRANSPARENT VACUUM DESICCATORS (LOCATION: SUITE 51)                              $75.00      9.07       $13.50     $88.50
                                                                                                                    (10.25%)

74   768368 LABCONCO CHEMICAL FUME HOOD PREMIER CAT NO: 10060000010814                                  $3,500.00   423.33     $630.00    $4,130.00
               APPROX: 6' x 32" x 5' WITH (2) LABCONCO PROTECTOR BASE CABINETS CAT NO:                              (10.25%)
               9900100 (LOCATION: SUITE 51) PLEASE NOTE SPECIAL REMOVAL
               REQUIREMENTS FOR THIS LOTS: High Deck Builders, Derrick High, 925-605-8738,
               derrick@high5builders.com




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75    768534 LOT OF (3) ZABER ULTRA PRECISION LINEAR MOTOR STAGES WITH BUILT IN                         $12,000.00 1,451.40    $2,160.00 $14,160.00
               CONTROLLERS AND ECODERS PN: X-LDM060C-AE54D12 WITH (1) ZABER HIGH                                    (10.25%)
               PRECISION MOTORIZED ROTARY STAGES WITH BUILT IN CONTROLLERS AND
               DIRECT ENCODERS PN: X-RST120AK-DE50 WITH (1) ZABER ULTRA PRECISION
               VERTICAL STAGES WITH BUILT IN CONTROLLERS PN: X-LDM0660C-AE54ZJ1D1
               WITH (1) ZABER PN: X-LDM060C-AE54D12, WITH THOR LABS CM1-BP145B1,
               THORLABS CP42 THREAD HEAD, THORLABS CP33 NEWPORT 818-SL WITH (1)
               STANFORD RESEARCH SYSTEMS LOW NOISE CURRENT PREAMPLIFIER MODEL:
               SR570, (1) STANDFORD RESEARCH SYSTEMS CHOPPER CONTROLLER MODEL:
               SR540, (1) STANFORD RESEARCH SYSTEMS LOCK IN AMPLIFIER MODEL: SR830
               WITH DELL OPTIPLEX 9020 COMPUTER , MONITOR AND ULINE CABINETS WITH
               ASSTD PARTS: THORLABS LENS, ELP USB CAMERA, THORLABS KS1CE,
               ELECTRICAL TESTING WIRES, (LOCATION: SUITE 51)

76    768541 LOT OF (2) THOR LABS OPTICAL POWER METER DIGITAL 4" LCD MODEL:                             $900.00     108.86     $162.00    $1,062.00
               PM100D (LOCATION: SUITE 51)                                                                          (10.25%)

79    768274 LINSHANG SPECTRUM TRANSMISSION METER MODEL: LS108H (LOCATION:                              $200.00     24.19      $36.00     $236.00
               SUITE 51)                                                                                            (10.25%)

80    768518 NKT PHOTONICS LLTF CONTRAST PN: SR-VIS-HP8 WITH NKT PHOTONICS                              $950.00     114.91     $171.00    $1,121.00
               SUPERK EVO SUPERCONTINUUM WHITE LIGHT LASER EUL-10 COLLIMATED PN:                                    (10.25%)
               S181-103-000 (LOCATION: SUITE 51)

81    768471 NEWPORT RS3000 SEALED HOLE TABLE TOP WITH TUNED DAMPING WITH                               $4,500.00   544.28     $810.00    $5,310.00
               NEWPORT STABILIZER HIGH PERFORMANCE LAMINAR FLOW ISOLATOR I-2000                                     (10.25%)
               SERIES APPROX: 8' x 59" x 35" WITH MOBILE OVERHEARD SHELVES WITH
               FRAME (LOCATION: SUITE 51)

82    768508 WOOD DISPLAY WITH POWER CIRCUITS LED LIGHTS (LOCATION: SUITE 51)                           $50.00      6.05       $9.00      $59.00
                                                                                                                    (10.25%)

82A   768357 CUSTOM DARK ROOM WITH PIPE AND CLOTHS (LOCATION: SUITE 51)                                 $125.00     15.12      $22.50     $147.50
                                                                                                                    (10.25%)

84    768384 THOR LABS SCIENCE DESK FRAME PN: SDR90120 APPROX: 43" x 54" x 30" WITH                     $500.00     60.48      $90.00     $590.00
               THOR LABS NEXUS BREADBOARD MODEL: B3648F APPROX: 36" x 48" x 2.4"                                    (10.25%)
               (LOCATION: SUITE 51)

86    768525 NEWAIR 6.7 CU FT CHEST FREEZER MODEL: NFT070GA00 (LOCATION: SUITE 51)                      $300.00     36.29      $54.00     $354.00
                                                                                                                    (10.25%)

88    768533 DIMATIX MATERIALS PRINTER DMP-2800 SERIES MODEL: DMP-2831 WITH DELL                        $3,000.00   362.85     $540.00    $3,540.00
               COMPUTER AND DURASTEEL TABLE MODEL: SS-DR3030-18Z ON CASTERS                                         (10.25%)
               APPROX: 30" x 30" x 34" (LOCATION: SUITE 51)

90    768523 JASCO AUTOMATED MEASUREMNET REFLECTANCE AND TRANSMITTANCE                                  $4,000.00   483.80     $720.00    $4,720.00
               MEASUREMNET MODEL: ARMN-920, SN: AXXXXXXXX, POWER: AC 115C,                                         (10.25%)
               PROJECT: CLASS 1 WITH JASCO SPECTROPHOTOMETER MODEL: V-770, SN:
               AXXXXXXXX, POWER: AC100V-240V, PROJECT: CLASS 1 WITH DELL OPTIPLEX
               3040 COMPUTER & DELL MONITOR (LOCATION: SUITE 51)

94    768532 WAFAB INTERNATIONAL WET BENCH VALULINE ENCLOSED MODEL: 48" FRONT                           $325.00     39.31      $58.50     $383.50
               ACCESS WPP WET BENCH, SN: 13989-01, 120VAC, 1 PH, APPROX: 48" W x 34" D                              (10.25%)
               x 75" H WITH SIDE CONTROLLER (LOCATION: SUITE 51) PLEASE NOTE SPECIAL
               REMOVAL REQUIREMENTS FOR THIS LOTS: High Deck Builders, Derrick High,
               925-605-8738, derrick@high5builders.com




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                                                                                               Number    price        Tax      premium


96    768519 2021 C&D SYSTEMS SMART PRO 9000 LIFTOFF SYSTEM 200MM/P9000                                 $35,000.00 4,233.25    $6,300.00 $41,300.00
               VERSION, MODEL: P9000, SN: 14311/03052021, 280VAC, 3-PHASE, 60HZ, 15A                                (10.25%)
               WITH JULABO REFRIGERATED/ HEATING CIRCULATOR 600F MODEL: 600F WITH
               JULABO MODEL: DYNEO DD & (2) STAINLESS STEEL PRESSURE VESSELS
               (LOCATION: SUITE 51) PLEASE NOTE SPECIAL REMOVAL REQUIREMENTS FOR
               THIS LOTS: High Deck Builders, Derrick High, 925-605-8738,
               derrick@high5builders.com

97    768483 CLEAN AIR PRODUCTS INDUSTRIAL STEEL CABINET WITH GLASS DOORS                               $275.00     33.26      $49.50     $324.50
               MODEL: CAP19S-SST-5DR-SGL-24WX10HX24D-6-5/8B APPROX: 27" x 25" x 64"                                 (10.25%)
               (LOCATION: SUITE 51)

98    768538 2022 EPILOG LASER FUSION EDGE MODEL: 17000 LASER SYSTEM, SN: 17000-                        $4,750.00   574.52     $855.00    $5,605.00
               22042862424, DOM: NOVEMBER 2022, CLASS 2 LASER PEODUCT WITH LENOVO                                   (10.25%)
               YOGA LAPTOP (LOCATION: SUITE 51)

104   768578 BYK TRANSPARENCY & HAZE METER HAZE GUARD I CAT NO: 4775, SN:1202783                        $6,000.00   725.70     $1,080.00 $7,080.00
               (LOCATION: SUITE 51)                                                                                 (10.25%)

105   768404 KEYENCE DIGITAL MICROSCOPE MODEL: VHX-7100 WITH KEYENCE LARGE FREE                         $15,000.00 1,814.25    $2,700.00 $17,700.00
               ANGLE OBSERVATION SYSTEM MODEL: VHX-S770E, WITH KEYENCE VHX                                          (10.25%)
               DIGITAL VHX-7000 & KEYENCE MICROSCOPE CONTROLLER VHX-A70E
               (LOCATION: SUITE 51)

106   768579 2023 SURAGUS EDDYCUS TF MAP 5050SR NON CONTACT SHEET RESISTANCE                            $6,000.00   725.70     $1,080.00 $7,080.00
               IMAGING DEVICE TESTER ITEM NO: SURA-DD-215, SN: MP5050-210092, YEAR:                                 (10.25%)
               2023/04 (LOCATION: SUITE 51)

107   768543 SHANGHAI AMSEMI SEMI AUTO WAFER TAPER LAMINATOR MODEL: ATW-12,                             $1,500.00   181.43     $270.00    $1,770.00
               DATE: 2020-12, (LOCATION: SUITE 51)                                                                  (10.25%)

110   768470 LAURELL TECHNOLOGIES SPIN COATER MODEL: WS-650HZ-15NPPB/IND WITH                           $125.00     15.12      $22.50     $147.50
               ENCLOSURE APPROX: 36" x 29" x 74" & ASSTD PARTS (LOCATION: SUITE 51)                                 (10.25%)

111   768556 SUSS MICROTEC CT2000 RML2 PROJECT NO: C. 3001098A01, SN: 1001 WITH                         $3,750.00   453.57     $675.00    $4,425.00
               INDUSTRIAL CHILLER CW-5200 (LOCATION: SUITE 51) PLEASE NOTE SPECIAL                                  (10.25%)
               REMOVAL REQUIREMENTS FOR THIS LOTS: High Deck Builders, Derrick High,
               925-605-8738, derrick@high5builders.com

112   768416 CLEAN AIR PRODUCTS INDUSTRIAL STEEL CABINET WITH GLASS DOORS                               $300.00     36.29      $54.00     $354.00
               MODEL: CAP19S-SST-4DR-24X18X24D-6-5/8B APPROX: 27" x 25" x 84"                                       (10.25%)
               (LOCATION: SUITE 51)

117   768276 NORLAKE SCIENTIFIC REFRIGERATOR MODEL: ER201WWW/0 (LOCATION: SUITE                         $100.00     12.10      $18.00     $118.00
               51)                                                                                                  (10.25%)

121   768419 LOT OF TEKRA FILM ROLLS: (12) 519-33-931-R 1126 6" , (10) 519-33-931-R 1125                $50.00      6.05       $9.00      $59.00
               & (13) ASSTD WITH WIRE RACK (LOCATION: SUITE 51)                                                     (10.25%)

124   768494 LOT OF (60) ASSTD WAFER CASSETE CARRIERS WITH WIRE RACK (LOCATION:                         $375.00     45.36      $67.50     $442.50
               SUITE 51)                                                                                            (10.25%)

128   768278 LOT OF (15) ASSTD TUBES (LOCATION: SUITE 51)                                               $50.00      6.05       $9.00      $59.00
                                                                                                                    (10.25%)

130   768555 LOT OF ASSTD GLASS TRAYS & STAINLESS STEEL TRAYS WITH WIRE RACK                            $75.00      9.07       $13.50     $88.50
               (LOCATION: SUITE 51)                                                                                 (10.25%)

132   768512 LOT OF ASSTD SUPPLIES: SHOE COVERS, MASK COVERS, CLEANEOOM LAB                             $400.00     48.38      $72.00     $472.00
               COATS, GLOVES & HAIR NETS WITH (1) WIRE RACK & (2) RACKS (LOCATION:                                  (10.25%)
               SUITE 51)

133   768429 LOT OF ASSTD TAPE, YELLOW FILM, SYRINGES & (2) WIRE RACKS (LOCATION:                       $50.00      6.05       $9.00      $59.00
               SUITE 51)                                                                                            (10.25%)


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                                                                                               Number    price        Tax      premium


135   768282 LOT OF ASSTD WAFER CARRIERS APPROX: 300 (LOCATION: SUITE 51)                               $100.00     12.10      $18.00     $118.00
                                                                                                                    (10.25%)

136   768472 LOT OF ASSTD WAFER CARRIERS & PETRI DISHES (LOCATION: SUITE 51)                            $50.00      6.05       $9.00      $59.00
                                                                                                                    (10.25%)

138   768435 LOT OF PYRAMID FOAM NOISE PANELS (LOCATION: SUITE 51)                                      $25.00      3.02       $4.50      $29.50
                                                                                                                    (10.25%)

139   768434 ULINE UNIVERSAL MOBILE SPILL KIT (LOCATION: SUITE 51)                                      $125.00     15.12      $22.50     $147.50
                                                                                                                    (10.25%)

140   768437 ULINE UNIVERSAL MOBILE SPILL KIT (LOCATION: SUITE 51)                                      $125.00     15.12      $22.50     $147.50
                                                                                                                    (10.25%)

142   768438 ULINE UNIVERSAL MOBILE SPILL KIT (LOCATION: SUITE 51)                                      $125.00     15.12      $22.50     $147.50
                                                                                                                    (10.25%)

146   768284 LOT OF (2) LASKO BLOWERS & ASSTD FANS(LOCATION: SUITE 51)                                  $50.00      6.05       $9.00      $59.00
                                                                                                                    (10.25%)

148   768474 SONOPLOT MICROPLOTTER PROTO FLUID DISPENSING SYSTEM MODEL:                                 $1,100.00   133.05     $198.00    $1,298.00
               MICROPLOTTER PROTO SN: PR0031, DATE: 09/14/2021 WITH MAC MODEL:                                      (10.25%)
               A2438(LOCATION: SUITE 51)

152   768444 JUSTRITE SURE GRIP EX FLAMMABLE LIQUID STORAGE CABINET 60GAL                               $200.00     24.19      $36.00     $236.00
               CAPACITY(LOCATION: SUITE 51)                                                                         (10.25%)

154   768446 JUSTRITE SURE GRIP EX ACID AND CORROSIVE STORAGE CABINET 60GAL                             $175.00     21.17      $31.50     $206.50
               CAPACITY(LOCATION: SUITE 51)                                                                         (10.25%)

159   768447 HUSKY FREE STANDING GARAGE CABINET(LOCATION: SUITE 51)                                     $100.00     12.10      $18.00     $118.00
                                                                                                                    (10.25%)

161   768549 ULINE STORAGE CABINET WITH ASSTD CONTENTS (LOCATION: SUITE 51)                             $25.00      3.02       $4.50      $29.50
                                                                                                                    (10.25%)

162   768475 ULINE STORAGE CABINET WITH ASSTD CONTENTS(LOCATION: SUITE 51)                              $75.00      9.07       $13.50     $88.50
                                                                                                                    (10.25%)

163   768552 ULINE STORAGE CABINET WITH ASSTD CONTENTS(LOCATION: SUITE 51)                              $75.00      9.07       $13.50     $88.50
                                                                                                                    (10.25%)

164   768448 BLACK ULINE STORAGE CABINET WITH ASSTD CONTENTS(LOCATION: SUITE 51)                        $50.00      6.05       $9.00      $59.00
                                                                                                                    (10.25%)

165   768288 ULINE STORAGE CABINET(LOCATION: SUITE 51)                                                  $75.00      9.07       $13.50     $88.50
                                                                                                                    (10.25%)

166   768548 ULINE STORAGE CABINET(LOCATION: SUITE 51)                                                  $50.00      6.05       $9.00      $59.00
                                                                                                                    (10.25%)

169   768290 STAINLESS STEEL TABLE APPROX: 72" x 30" x 34" (LOCATION: SUITE 51)                         $100.00     12.10      $18.00     $118.00
                                                                                                                    (10.25%)

170   768289 STAINLESS STEEL TABLE APPROX: 48" x 30" x 30" (LOCATION: SUITE 51)                         $75.00      9.07       $13.50     $88.50
                                                                                                                    (10.25%)

172   768477 STAINLESS STEEL TABLE APPROX: 48" x 30" x 30"(LOCATION: SUITE 51)                          $50.00      6.05       $9.00      $59.00
                                                                                                                    (10.25%)

173   768451 STAINLESS STEEL TABLE APPROX: 47" x 29" x 35" (LOCATION: SUITE 51)                         $50.00      6.05       $9.00      $59.00
                                                                                                                    (10.25%)

174   768452 STAINLESS STEEL TABLE APPROX: 47" x 29" x 35" (LOCATION: SUITE 51)                         $50.00      6.05       $9.00      $59.00
                                                                                                                    (10.25%)



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                                                                                               Number    price        Tax      premium


175   768550 STAINLESS STEEL TABLE APPROX: 47" x 29" x 35" (LOCATION: SUITE 51)                         $50.00      6.05       $9.00      $59.00
                                                                                                                    (10.25%)

177   768291 DURASTEEL STAINLESS STEEL TABLE APPROX: 36" x 30" x 34(LOCATION: SUITE                     $25.00      3.02       $4.50      $29.50
               52)                                                                                                  (10.25%)

180   768467 LOT OF (2) WIRE RACKS(LOCATION: SUITE 51)                                                  $25.00      3.02       $4.50      $29.50
                                                                                                                    (10.25%)

182   768453 BENCH TEK SOLUTIONS WORKBENCH APPROX: 72" x 36" x 34" (LOCATION:                           $175.00     21.17      $31.50     $206.50
               SUITE 51)                                                                                            (10.25%)

184   768293 BENCH TEK SOLUTIONS WORKBENCH APPROX: 72" x 36" x 34" (DELAYED PICK                        $150.00     18.15      $27.00     $177.00
               UP- BUYER WILL BE NOTIFIED)(LOCATION: SUITE 51)                                                      (10.25%)

185   768454 BENCH TEK SOLUTIONS WORKBENCH APPROX: 72" x 36" x 34" (DELAYED PICK                        $200.00     24.19      $36.00     $236.00
               UP- BUYER WILL BE NOTIFIED)(LOCATION: SUITE 51)                                                      (10.25%)

186   768455 BENCH TEK SOLUTIONS WORKBENCH APPROX: 48" x 30" x 31" (DELAYED PICK                        $60.00      7.26       $10.80     $70.80
               UP- BUYER WILL BE NOTIFIED) (LOCATION: SUITE 51)                                                     (10.25%)

196   768462 HUSKY ADJUSTABLE WORKBENCH WITH WOOD TOP APPROX: 96" x 24"                                 $25.00      3.02       $4.50      $29.50
               (DELAYED PICK UP - BUYER WILL BE NOTIFIED) (LOCATION: SUITE 51)                                      (10.25%)

198   768461 HUSKY ADJUSTABLE WORKBENCH WITH WOOD TOP APPROX: 96" x 24"                                 $25.00      3.02       $4.50      $29.50
               (DELAYED PICK UP - BUYER WILL BE NOTIFIED) (LOCATION: SUITE 51)                                      (10.25%)

199   768460 HUSKY HEAVY DUTY BLACK 5 DRAWER TOOL CHEST WITH WOOD TOP APPROX:                           $100.00     12.10      $18.00     $118.00
               28" x 21" x 33"(LOCATION: SUITE 51)                                                                  (10.25%)

200   768566 LOT OF ASSTD PLASTIC BINS, CONTAINERS, TRASH BINS & (4) SHELVING RACKS                     $25.00      3.02       $4.50      $29.50
               & (3) WIRE RACKS(LOCATION: SUITE 51)                                                                 (10.25%)

203   768303 LOT OF (2) JUSTRITE OILY WASTE CAN MODEL: 09300 RED 10 GALLON                              $5.00       0.60       $0.90      $5.90
               CAPACITY(LOCATION: SUITE 51)                                                                         (10.25%)

204   768306 LOT OF (2) JUSTRITE OILY WASTE CAN MODEL: 09300 RED 10 GALLON                              $5.00       0.60       $0.90      $5.90
               CAPACITY & (1) RED TRASH CAN(LOCATION: SUITE 51)                                                     (10.25%)

207   768308 LOT OF (5) GLASS(LOCATION: SUITE 51)                                                       $10.00      1.21       $1.80      $11.80
                                                                                                                    (10.25%)

208   768458 LOT OF (2) ASSTD STOOLS: (1) INTERION KHG 20 & (1) ULINE H-3732(LOCATION:                  $20.00      2.42       $3.60      $23.60
               SUITE 51)                                                                                            (10.25%)

209   768459 LOT OF (2) ASSTD BEVCO STOOLS (LOCATION: SUITE 51)                                         $30.00      3.63       $5.40      $35.40
                                                                                                                    (10.25%)

213   768266 MOBILE MAGNATAG DRY ERASE WHITE BOARD APPROX: 120" x 50" (LOCATION:                        $10.00      1.21       $1.80      $11.80
               SUITE 51)                                                                                            (10.25%)

226   768510 2021 FERROTEC/TEMESCAL DEPOSITION SYSTEM MODEL: FC-2800/200MM                              $50,000.00 6,047.50    $9,000.00 $59,000.00
               INCLUDES: 9600 CTI CRYO COMPRESSOR & STAND ALONE MECH                                                (10.25%)
               PUMP(LOCATION: SUITE 52) PLEASE NOTE SPECIAL REMOVAL REQUIREMENTS
               FOR THIS LOTS: High Deck Builders, Derrick High, 925-605-8738,
               derrick@high5builders.com

234   768335 S&A INDUSTRIAL CHILLER MODEL: CW-5200(LOCATION: SUITE 52)                                  $50.00      6.05       $9.00      $59.00
                                                                                                                    (10.25%)

238   768424 LOT OF ASSTD G&E UHV CLEAN COMPONENTS: SHIELD GUIDE SHAFT, SHIELD                          $50.00      6.05       $9.00      $59.00
               SEALING RING,SHIELD FRONT DOOR SHIELD BOTTOM, SHIELD GATE VALVE                                      (10.25%)
               VIEW PORT: PN: 0628-5134, 0628-5074, 0626-9474-1, 0628-2394 WITH ASSTD
               PARTS(LOCATION: SUITE 52)

248   768572 JUSTRITE SURE GRIP EX ACID AND CORROSIVE STORAGE CABINET 22GAL                             $25.00      3.02       $4.50      $29.50
               CAPACITY PN: 892322(LOCATION: SUITE 52)                                                              (10.25%)

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Lotɸ# Item #                                        Item Name                                 Inventory Hammer       Sales      Buyer's      Subtotal
                                                                                               Number    price        Tax      premium


251   768358 PRO STAR PLATINUM REGULATOR MODEL: PRS401233(LOCATION: SUITE 52)                           $30.00      3.63       $5.40      $35.40
                                                                                                                    (10.25%)

252   768359 PRO STAR PLATINUM REGULATOR MODEL: PRS401233(LOCATION: SUITE 52)                           $30.00      3.63       $5.40      $35.40
                                                                                                                    (10.25%)

262   768427 LOT OF (3) ULINE BLACK CRATES MODEL: H-2093BL APPROX: 32" x 30" x 25"                      $150.00     18.15      $27.00     $177.00
               (LOCATION: SUITE 37)                                                                                 (10.25%)

264   768431 TITAN WORKSTATION COMPUTER SN: T-20201291 WITH MINUTE MAN BACK UP                          $600.00     72.57      $108.00    $708.00
               POWER(LOCATION: SUITE 37)                                                                            (10.25%)

265   768430 TITAN WORKSTATION COMPUTER SN: T-20214195 WITH CYBER POWER BACK                            $2,500.00   302.38     $450.00    $2,950.00
               UP(LOCATION: SUITE 37)                                                                               (10.25%)

266   768432 TITAN WORKSTATION COMPUTER T-20201295 WITH CYBER POWER BACK                                $1,250.00   151.19     $225.00    $1,475.00
               UP(LOCATION: SUITE 37)                                                                               (10.25%)

269   768371 LENOVO P1 GEN 3 THINKPAD CORE I7 10750H, 2.60GHZ, 32GB RAM, 1TB HD,                        $325.00     39.31      $58.50     $383.50
               WINDOWS 10 PRO(LOCATION: SUITE 52)                                                                   (10.25%)

270   768373 LENOVO P15S GEN 2 THINKPAD 11TH GEN CORE I7-1165G7, 2.80GHZ, 32GB                          $100.00     12.10      $18.00     $118.00
               RAM, 1TB HD, WINDOWS 10 PRO(LOCATION: SUITE 52)                                                      (10.25%)

274   768574 LENOVO X3 GEN 1 THINKPAD AMD RYZEN 7 PRO 4750U W/ RADEON GRAPHICS,                         $100.00     12.10      $18.00     $118.00
               1.70GHZ, 16GB RAM, 1TB HD, WINDOWS 10 PRO(LOCATION: SUITE 52)                                        (10.25%)

275   768377 LENOVO X13 THINKPAD AMD RYZEN 7 PRO 4750U W/RADEON GRAPHICS,                               $100.00     12.10      $18.00     $118.00
               1.70GHZ, 16GB RAM, 1TB HD, WINDOWS 10 PRO(LOCATION: SUITE 52)                                        (10.25%)

284   768385 LOT OF ASSTD: (4) LOCKED LAPTOPS, KEYBOARDS, COMPUTERS, DOCKING                            $25.00      3.02       $4.50      $29.50
               STATIONS & CABLES(LOCATION: SUITE 52)                                                                (10.25%)

285   768387 LOT OF (1) DYMO LABEL WRITER 450 TWIN TURBO & (1) BROTHER LABEL                            $10.00      1.21       $1.80      $11.80
               PRINTER MODEL: QL-700(LOCATION: SUITE 52)                                                            (10.25%)

286   768386 METTLER TOLEDO SCALE MODEL: PS60(LOCATION: SUITE 52)                                       $90.00      10.89      $16.20     $106.20
                                                                                                                    (10.25%)

298   768479 LOT OF (2) ASSTD VIEWSONIC MONITORS WITH ARM MOUNTS(LOCATION:                              $25.00      3.02       $4.50      $29.50
               SUITE 52)                                                                                            (10.25%)

300   768399 LOT OF (3) ASSTD 27" VIEW SONIC MONITORS(LOCATION: SUITE 52)                               $25.00      3.02       $4.50      $29.50
                                                                                                                    (10.25%)

301   768397 LOT OF (3) ASSTD 27" VIEW SONIC MONITORS(LOCATION: SUITE 52)                               $25.00      3.02       $4.50      $29.50
                                                                                                                    (10.25%)

302   768398 LOT OF (2) ASSTD 27" VIEW SONIC MONITORS(LOCATION: SUITE 52)                               $25.00      3.02       $4.50      $29.50
                                                                                                                    (10.25%)

305   768402 LOT OF (3) ASSTD VIEWSONIC MONITORS(LOCATION: SUITE 52)                                    $25.00      3.02       $4.50      $29.50
                                                                                                                    (10.25%)

314   768413 WERNER 8FT LADDER MODEL: 6208(LOCATION: SUITE 52)                                          $25.00      3.02       $4.50      $29.50
                                                                                                                    (10.25%)

316   768415 ULINE PALLET JACK MODEL: H-1782 (LOCATION: SUITE 52)                                       $175.00     21.17      $31.50     $206.50
                                                                                                                    (10.25%)

317   768410 LOT OF (1) SINGLE CYLINDER HAND TRUCK & (1) MAGLINER HAND TRUCK                            $10.00      1.21       $1.80      $11.80
               (LOCATION: SUITE 52)                                                                                 (10.25%)

319   768480 LOT OF (2) LUXOR UTILITY CARTS (LOCATION: SUITE 52)                                        $10.00      1.21       $1.80      $11.80
                                                                                                                    (10.25%)

337   768657 SAMSUNG 82" SMART TV MODEL: QN82Q60TAF WITH WALL MOUNT (TV                                 $225.00     27.21      $40.50     $265.50
               MOUNTED ON WALL- BUYER MUST BRING TV DOWN)(LOCATION: SUITE 37)                                       (10.25%)

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Lotɸ# Item #                                        Item Name                                 Inventory Hammer       Sales     Buyer's      Subtotal
                                                                                               Number    price        Tax     premium


357   768618 LOT OF (3) ASSTD STOOLS(LOCATION: SUITE 52)                                                $40.00     4.84       $7.20      $47.20
                                                                                                                   (10.25%)

369   768665 LOT OF (2) OFFICE CHAIRS(LOCATION: SUITE 52)                                               $75.00     9.07       $13.50     $88.50
                                                                                                                   (10.25%)

372   768666 5 TIER SHELF(LOCATION: SUITE 52)                                                           $10.00     1.21       $1.80      $11.80
                                                                                                                   (10.25%)

381   768609 ULINE STORAGE CABINET WITH ASSTD CONTENTS(LOCATION: SUITE 37)                              $25.00     3.02       $4.50      $29.50
                                                                                                                   (10.25%)

387   768648 DOUBLE SIDED WHITE BOARD APPROX: 71" x 47" WITH PORTABLE                                   $10.00     1.21       $1.80      $11.80
               STAND(LOCATION: SUITE 37)                                                                           (10.25%)

1001 768624 PLEASANTON RELATED IP- APPLICATIONS - EXCLUDING ROLL TO ROLL                                $13,500.00 1,632.83   $2,430.00 $15,930.00
               RELATED IP                                                                                          (10.25%)



Notes                                                                          Summary

AUCTION EQUIPMENT LOCATION & REMOVAL:                                          Subtotal:                                                  $222,843.00
5880 W. Las Positas Blvd, Suite 37, 51 and 52                                  Shipping & Handling:                                               $0.00
Pleasanton, CA, 94588
                                                                               Sales Tax:                                                   $22,841.62

                                                                               TOTAL INVOICE:                                             $245,684.62
Removal:
                                                                               Balance Due                                                $245,684.62
All hand-carry items must be removed by: Tuesday, April 8th.
All large items must be removed by: Friday, April 11th.

Hours: 9am - 4pm


Site Contact: Jose Bautista (562) 922-2146


***** IMPORTANT SPECIAL REMOVAL TERMS FOR SPECIFIC LOTS
(70, 74, 92, 94, 95, 96, 109, 111, 114, 116, 118, 119, 120, 222, 226):
THESE LOTS MUST BE REMOVAL BY THE FOLLOWING RIGGER
ONLY. ALL COSTS ASSOCIATED WITH REMOVAL IS THE SOLE
RESPONSIBILITY OF THE BUYER.


HIGH BUILDERS INC.
Derrick High
925-605-8738
derrick@high5builders.com



All items sold AS-IS, WHERE IS, without any warranty or
representation whatsoever. Buyers must verify all counts &
conƼgurations prior to removal. Buyer must inform Third Party
Shippers of removal terms. Absolutely no allowance made for
claims or shortages once items have left the premises. All sales are
Ƽnal. NO REFUNDS, NO RETURNS, NO EXCHANGES.



All invoices must be paid in full by Friday, April 4th.

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PAYMENTS:


• Cash Onsite


• Cashier's Check made payable to CA Global Partners, Inc. – sent
overnight to below address:
14900 W. Castille Way, Sylmar, CA 91342


• Major Credit Cards – Payments subject to 4% merchant fee.
Credit Card Payments NOT accepted at auction site.
Remote credit card payments require a credit card authorization
form. https://www.cagp.com/wp-content/uploads/2023/12/Credit-
Card-Authorization-Form-CAGP-3.pdf
Email completed and signed form to support@cagp.com


• Wire Transfer


Wire Transfer Instructions:
Citibank
4809 Commons Way
Calabasas, CA 91302


BeneƼciary Name: CA Global Partners Incorporated
BeneƼciary Account: 207 946 047
ABA/Routing #: 322271724
Reference your Bidder #


SALES TAX:
Sales Tax will NOT be refunded.


• Resellers claiming exemption must email signed and completed
Resale CertiƼcate to support@cagp.com.
https://www.cdtfa.ca.gov/formspubs/cdtfa230.pdf


• Out of State Buyers must present Bill of Lading provided by
shipper to claim tax exemption.


Email our oƾce immediately with any questions or problems
regarding payment or removal support@cagp.com




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